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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                       IN THE UNITED STATES DISTRICT COURT                              July 06, 2017
                       FOR THE SOUTHERN DISTRICT OF TEXAS                            David J. Bradley, Clerk
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
                      Government,               §
                                                §
VS.                                             §     CRIMINAL NO. H-16-126-5
                                                §
HUBER CORNEJO                                   §
                                                §
                      Defendant.                §


                                   ORDER OF REFERRAL

       Having considered the defendant’s consent, this cause is hereby referred to United States

Magistrate Judge Mary Milloy for the purpose of administering the plea of guilty, subject to the

final approval and imposition of sentence by this Court.

               SIGNED on July 6, 2017, at Houston, Texas.


                                                    ______________________________________
                                                             Lee H. Rosenthal
                                                       Chief United States District Judge
